                         Case 25-30155 Document 131-2 Filed in TXSB on 06/04/25 Page 1 of 4
Label Matrix for local noticing            Alliance Energy Partners, LLC      IAE International, Inc
0541-4                                     20008 Champions Forest Dr.         co Renshaw PC
Case 25-31937                              Suite 1203                         2900 Weslayan
Southern District of Texas                 Spring, TX 77379-8697              Suite 360
Houston                                                                       Houston, TX 77027-5132
Wed Jun 4 15:42:50 CDT 2025
4                                          405 Technology Solutions           ADM Machine Shop
United States Bankruptcy Court             PO Box 8433                        14217 HWY TX-105
PO Box 61010                               Moore, OK 73153-8433               Conroe, TX 77306-5356
Houston, TX 77208-1010


AI Driller Inc                             ASAP Thread Protecters             Adobe Oilfield Services, Ltd
1801 W Wall St                             Jose Carrasco                      705 W. Hillmont
Midland, TX 79701-6531                     Houston, TX 77066                  Odessa, TX 79764-1931



All-American Trucking                      Alliance Drilling Tools, LLC       Alliance Farm and Ranch
P.O. Box 270568                            PO Box 1503                        5450 Honea Egypt Rd.
Houston, TX 77277-0568                     Evanston, WY 82931-1503            Montgomery, TX 77316-2364



ArcoTech Drilling Solutions                Arrington Directional LLC          Bench Tree Rentals, LLC
REME Technologies dba Arcotech             Camp Arrington                     2933 E. Davis
PO Box 916                                 2029 Eagle View Dr.                Conroe, TX 77301-7216
Broussard, LA 70518-0916                   Navasota, TX 77868-3951


Benjamin W. Kadden                         Big H Transport LLC                Black Diamond
Lugenbuhl, Wheaton, Peck, Rankin           PO Box 215                         15425 North Freeway Suite 350
601 Poydras, Suite 2775                    Dobbin, TX 77333-0215              Houston, TX 77090-6016
New Orleans, LA 70130-6041


Black Diamond Oilfield Rentals, LLC        Brent William Smith                Brittany Lopez CPA PC
15425 North Freeway Suite 350              16516 El Camino Real, Suite 406    7 Grogans Park, Suite 10
Houston, TX 77090-6016                     Houston, TX 77062-5723             The Woodlands, TX 77380-2402



Cavare Inc                                 Conroe Welding Supply Inc          DAC Electrical Services, LLC
Bill Beattie                               415 South Frazier                  7926 Adcock Acres Dr.
12066 FM 3083 Rd                           Conroe, TX 77301-5098              Conroe, TX 77303-4014
Conroe, TX 77301-6104


DAVM, LLC                                  DIG                                Directional Manufacturing and Supply
12419 Bagwell Rd                           PO Box 916                         1098 Marcon Dr
Willis, TX 77378-4705                      Broussard, LA 70518-0916           Lafayette, LA 70507



Discovery Downhole Services                Downhole Works LLC                 Drakewell LLC
1855 Skyview Dr.                           28723 Shirley Court                3324 NW 135TH ST
Casper, WY 82601-9641                      Magnolia, TX 77355-5613            Oklahoma City, OK 73120-4054
                           Case 25-30155 Document 131-2 Filed in TXSB on 06/04/25 Page 2 of 4
Dril Tech, LLC                               Drilling Tools International           Drilling Tools International
PO Box 622039                                10370 Richmond Avenue, Suite 1000      1514 South County Road 1309
Dallas, TX 75262-2039                        Houston, TX 77042-4157                 Midland, TX 79707-5839



Dura Coatings                                Dustin Etter                           Dyna-Drill
13920 South Meridian                         c/o Noah E. W. Meek                    23400 Colonial Parkway
Oklahoma City, OK 73173-8804                 Irelan McDaniel, PLLC                  Katy, TX 77493-3598
                                             2520 Caroline, 2nd Floor
                                             Houston, TX 77004-1000

Dyna-Drill Technologies LLC                  DynoMax Drilling Tools USA, Inc.       FT Machine LLC
23400 Colonial Parkway                       2830 Farrell Road                      820 Turney Dr
Katy, TX 77493-3598                          Houston, TX 77073-4106                 Houston, TX 77038-3922



Ferretville Investments LLC                  Gator Technologies                     GeoGuidance Drilling Services
20008 Champion Forest Dr., Suite 1204        2017 Traders Ridge Drive               P.O. Box 42647
Spring, TX 77379-8697                        Conroe, TX 77301-2153                  Bakersfield, CA 93384-2647



Gordon Technologies LLC                      IAE International, Inc. d/b/a Sniper   IMECH - Innovative Mech. Solutions, LLC
PO Box 1486                                  13300 Stonefield Dr.                   2418 Greens Rd
Scott, LA 70583-1486                         Houston, TX 77014-2923                 Houston, TX 77032-1332



InMotion Technical Support                   Innova Drilling and Intervention       J & B Breakout Unit Repairs LLC
P.O. Box 770391                              3050 Post Oak Blvd Suite 510           PO Box 604
Houston, TX 77215-0391                       Houston, TX 77056-6512                 Conroe, TX 77305-0604



Justin Renshaw                               Keystone Manufacturing                 Kyle V. Littlefield
2900 Weslayan, Suite 360                     12243 Northwoods Park Drive Suite A    32084 Ponderosa Way
Houston, TX 77027-5132                       Houston, TX 77041                      Evergreen, CO 80439-6645



LMJ Solutions Oilfield Services              Lion Inspection Services               Lone Star Trucking
2700 Industrial Ln                           3002 Farrell Rd                        P.O. Box 872
Conroe, TX 77301-4072                        Houston, TX 77073-3007                 Odessa, TX 79760-0872



NOS                                          On Point Logistics                     Pegasus NGV Trucking
2800 Broadway, Suite C-709                   15814 Champion Forest Dr. Suite 1083   PO Box 689
Pearland, TX 77581-9502                      Spring, TX 77379-7141                  Broussard, LA 70518-0689



Performance Power Inc.                       Platinum Transport Service             Pmax Energy Services Inc
P.O. Box 1608                                3526 Azalea Sands Dr.                  16655-2 Telge Road
Casper, WY 82602-1608                        Spring, TX 77386-2926                  Cypress, TX 77429-1387
                           Case 25-30155 Document 131-2 Filed in TXSB on 06/04/25 Page 3 of 4
Rig Runner                                           Schumacher-Dixie, LLC                                Spira Systems Inc
24955 I45 North                                      5610 Polk Street                                     16518 Aldine Westfield Road Suite A
The Woodlands, TX 77380                              Houston, TX 77023-2106                               Houston, TX 77032-1363



Steel River Manufacturing LLC                        Surface Resistance Technologies LLC                  Tellez Machine
18300 Strack Drive Suite 800                         2998 Old Highway 105 E                               606 Midland Dr
Spring, TX 77379-8798                                Conroe, TX 77301-6452                                Houston, TX 77037-1227



Timothy L. Wentworth                                 Timothy W. Strickland                                Triumph Express
Okin Adams Bartlett Curry LLP                        Kean Miller, LLC                                     5805 Archduke Dr.
1113 Vine St., Suite 240                             711 Louisiana St., Suite 1800                        Houston, TX 77032
Houston, TX 77002-1044                               Houston, TX 77002-2832


Truist Bank, Support Services                        Turnazontal LLC                                      US Trustee
P.O. Box 85092                                       8514 Hamer Ranch                                     Office of the US Trustee
Richmond, VA 23286-0001                              San Antonio, TX 78254-4526                           515 Rusk Ave
                                                                                                          Ste 3516
                                                                                                          Houston, TX 77002-2604

United Machine Works                                 United States Trustee’s Office                       Viking Power Technologies
P O Box 525                                          515 Rusk St., Suite 3516                             5203 Aeropark Dr.
New Waverly, TX 77358-0525                           Houston, TX 77002-2604                               Houston, TX 77032-4039



Viper Energy Technology                              William Hotze                                        Workrise - Rusco Operating, LLC
16623 Aldine Westfield Rd.                           Kane Russell Coleman Logan, PC                       111 Congress Ave. Suite 1300
Houston, TX 77032-1351                               5151 San Felipe, 8th Floor                           Austin, TX 78701-4092
                                                     Houston, TX 77056-3607


Xela Media                                           Dustin Etter                                         Timothy L. Wentworth
851 Fisher Street unit B                             2520 Caroline, 2nd Floor                             Okin Adams, LLP
Houston, TX 77018-5338                               Houston, TX 77004-1000                               1113 Vine St., Suite 240
                                                                                                          Houston, TX 77002-1044




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Alliance Energy Partners, LLC                     (u)Alliance Energy Partners, LLC20008 Champio        (d)Alliance Farm and Ranch, LLC
20008 Champions Forest Dr., Suite 1203               United States Trustee’s Office515 R                  5450 Honea Egypt Rd.
Spring, TX 77379-8697                                405 Technology SolutionsPO Box 8433M                 Montgomery, TX 77316-2364
                                                     ADM Machine Shop14217 HWY TX-105Conr
                                                     Adobe Oilfield Services, Ltd705 W. Hill
                                                     AI Driller Inc1801 W Wall StMidland
(u)Timothy L. WentworthOkin Adams Bartlett Cu        (u)Timothy L. WentworthOkin Adams Bartlett Cu        (d)Workrise- Rusco Operating, LLC
                                                     Alliance Energy Partners, LLC20008 Cham              111 Congress Ave. Suite 1300
                                                     United States Trustee’s Office515 R                  Austin, TX 78701-4092
                                                     405 Technology SolutionsPO Box 8433M
                                                     ADM Machine Shop14217 HWY TX-105Conr
                                                     Adobe Oilfield Services, Ltd705 W. Hill
                       Case 25-30155 Document 131-2 Filed in TXSB on 06/04/25 Page 4 of 4
End of Label Matrix
Mailable recipients   80
Bypassed recipients    6
Total                 86
